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Loren Jackson - District Clark

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CAUSE NO, 2010-52092 By: Sandra Talbert
BUDDY TRAHAN § IN THE DISTRICT COURT OF
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VS. 5
§
§ HARRIS COUNTY, TEXAS
BP AMERICA INC, ET AL, §
§
§ s
§
§ 27078 JUDICIAL DISTRICT

DEFENDANTS’ ORIGINAL ANSWER TO
PLAINTIFF'S ORIGINAL PETITION

Defendants BP America Inc., BP Corporation North America Inc., BP Company
North America Inc, BP Products North America Inc., BP Exploration & Production Inc.,
and BF America Production Company (“Defendants”) file this Original Answer in
response to Plaintiffs Original Petition filed by Buddy Trahan.

Defendants assert a general denial as authorized by Rule 92 of the Texas Rules of
Civil Procedure.

WHEREFORE, PREMISES CONSIDERED, Defendants pray that upon final
hearing the Court enter judgment that Plaintiff takes nothing and that Defendants be

awarded their costs of court and such other and further relief to which they may be

justly entitled.

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BP AMERICA INC., BP CORPORATION
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NORTH AMERICA INC., BP PRODUCTS
NORTH AMERICA INC., BP EXPLORATION
& PROPUCTION INC, AND BP AMERICA
PRODUCTION COMPANY

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing has been
forwarded to counsel of recard pursuant to the Texas Rules of Civil Procedure on this

30th day of August, 2010.

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I, Loren Jackson, District Clerk of Haris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date

Witness my offictal hand and seal of office
this September 3, 2010

Certified Document Number; 46210178 Total Pages: 4

LOREN JACKSON, DISTRICT CLERK.
HARRIS COUNTY, TEXAS

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